Case 2:18-cv-03899-JAK-PLA Document 29 Filed 08/03/18 Page 1 of 4 Page ID #:230


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 Case 2:18-cv-03899-JAK-PLA Document 29 Filed 08/03/18 Page 2 of 4 Page ID #:231


 1                           UNITED STATES DISTRICT COURT
 2                          CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
 3
     KAJEET, INC.,
 4                                                    Case No. 2:18-cv-03899-JAK-PLA
                         Plaintiff,
 5
             v.
 6                                                  SECOND STIPULATED REQUEST
     MOBICIP, LLC,                                  TO EXTEND TIME TO RESPOND TO
 7                                                  INITIAL COMPLAINT
                         Defendant.
 8
                                                      [PROPOSED] ORDER
 9
10
                                                      Complaint Served: 6/13/2018
11                                                    Current response date: 8/2/2018
12                                                    New response date: 8/17/2018

13
14           TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
15           PLEASE TAKE NOTICE that Plaintiffs by and through their counsel of record
16   and Defendants by and their counsel of record, hereby jointly request an additional
17   extension of fifteen (15) days from the current response date of August 2, 2018 for
18   Defendant to respond to the Initial Complaint until August 17, 2018. In support of this
19   Stipulation, the parties show unto the Court as follows:
20           1.   The Initial Complaint was served on Defendants on or about June 13, 2018;
21           2.   Defendants’ response to the Initial Complaint was originally due July 4,
22   2018;
23           3.   One prior extension has been requested by the parties to extend Defendant’s
24   original answer date from July 4, 2018 to August 2, 2018;
25           4.   The parties jointly request that the Court grant another fifteen (15) day
26   extension of time for Defendant to respond to the Complaint until August 17, 2018;
27           5.   Defendant and Plaintiff continue to pursue settlement discussions and are
28   confident that they will be able to resolve this matter in the absence of further litigation.



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 Case 2:18-cv-03899-JAK-PLA Document 29 Filed 08/03/18 Page 3 of 4 Page ID #:232


 1         WHEREFORE, the parties request an additional fifteen (15) day extension of
 2   Defendants’ response deadline to August 17, 2018, in order to facilitate further
 3   settlement discussions.
 4         IT IS SO STIPULATED.
 5
 6   Dated: August 3, 2018              By:       /s/ Brandon C. Fernald
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                                        KAJEET, INC.
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21   Dated:      August 3, 2018         By: /s/ Benjamin D. Bailey
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28                                      Mobicip, LLC



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 Case 2:18-cv-03899-JAK-PLA Document 29 Filed 08/03/18 Page 4 of 4 Page ID #:233


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